Case 1:17-cv-05495-HG         Document 523        Filed 01/27/25      Page 1 of 2 PageID #: 77615

                                                                    P E A R S ON W A R S H A W , LLP
                                                                    15165 VENTURA BLVD., SUITE 400
                                                                           SHERMAN OAKS, CA 91403
                                                                                    (818) 788-8300
                                                                                WWW.PWFIRM.COM


 January 27, 2025

 Hon. Hector Gonzalez
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, Brooklyn, NY 11201
                Re:     NASL v. USSF and MLS, No. 1:17-cv-05495
 Dear Judge Gonzalez:
        I write regarding Defendants’ intended video presentation of the deposition testimony of
 Aaron Davidson, which Defendants have indicated could come as early as Tuesday of this trial
 week. Under the parties’ agreed-upon procedure for finalizing deposition videos to be played in
 Court, Defendants sent their revised designations for the Aaron Davidson video on Saturday,
 January 25th. Based on an analysis utilizing video-editing software, the revised designations
 include over 40 minutes of testimony from Mr. Davidson, including 75 instances where Mr.
 Davidson invokes the Fifth Amendment, making up nearly half of the designated questions and
 answers in Defendants’ designations. While Plaintiff recognizes that the Court has already ruled
 on individual objections that Plaintiff has made to the designations, the form of the intended video
 presentation runs afoul of the Court’s order on this issue:
         “[T]he Court reminds Defendants that because they intend to play portions of Davidson’s
        recorded deposition, ‘the admissibility of [his] privilege invocation [remains] governed by
        Rules 401 and 403,’ and that this applies to both the content of the evidence as well as the
        form in which it is presented. In re 650 Fifth Ave. & Related Props., 934 F.3d 147, 171–
        72 (2d Cir. 2019) (rejecting as ‘inflammatory’ the ‘dramatic presentation’ of ‘videotapes
        of nontestifying individuals declining to answer question after question’).” ECF No. 451
        (“Early MIL Order”) at 17, fn. 10 (emphasis added).
         The Court has further explained that “neither Davidson nor Traffic is on trial in this case”
 and it “will not permit Defendants to cross the line at trial and attempt to use the indictments and
 guilty pleas as a smear tactic against NASL.” Early MIL Order at 8. The currently proposed video
 is exactly the type of “dramatic presentation” that violates Rules 401 and 403 and serves no effect
 other than to smear NASL. If permitted to proceed as proposed, jurors will be inundated with Mr.
 Davidson’s repeated Fifth Amendment invocations, seeing him “declining to answer question after
 question.” In re 650 Fifth Ave., 934 F.3d at 172. The number of invocations alone is prejudicial
 and needlessly cumulative, crossing the line set by the Court in the Early MIL Order. Fed. R.
 Evid. 403.
         Moreover, much of the selected testimony has been included by Defendants solely to
 present the jury with Defendants’ inflammatory questions, the bases for which are neither
 grounded in, nor corroborated by, the testimony of other trial witnesses. This tactic—“repeatedly
 put[ting] the [opposing party’s] incriminating question in the jurors’ minds”—is prejudicial and
 should not be permitted. In re 650 Fifth Ave., 934 F.3d at 172. Indeed, given the substantial
 argument and questioning Defendants have already done on issues related to Traffic and Mr.
Case 1:17-cv-05495-HG        Document 523        Filed 01/27/25      Page 2 of 2 PageID #: 77616
                                                                                         Page 2



 Davidson at trial, Defendants should not be allowed to use this video to “belabor the details of
 Davidson’s and Traffic’s conduct[.]” 1 Early MIL Order at 8.
          In addition, Defendants’ designations heavily feature questions (and invocations of the
 Fifth Amendment in response) about conduct that Defendants’ deposition questions characterize
 as a “bribe” paid to induce a team to join NASL, but for which there is no foundational evidence
 at trial or otherwise. See DX-163.0002 (Rishi Sehgal’s email simply saying “when you say ‘we
 shouldn’t say anything’ are you suggesting that you should not pursue the other channel”) and
 related trial testimony at Tr. 591-597. Critically, such testimony is not being used, as limited by
 the Court’s order on this issue, to “counter [a] narrative” that that team “joined NASL rather than
 another league because of plaintiff’s success.” December 5, 2024 Hearing Transcript at 13-14.
 The designated questioning of Mr. Davidson about an alleged bribe is not “countering” anything
 – Plaintiff has proffered no record evidence that the team joined the NASL rather than another
 league because of its success. 2 These questions thus threaten to unfairly prejudice, mislead and
 confuse the jurors. Fed. R. Evid. 401, 403.
         The currently proposed Aaron Davidson video is contrary to both this Court’s in Limine
 Orders and the Federal Rules of Evidence. NASL accordingly requests that the designations
 identified in Appendix A be removed from the video or that the repeated Fifth Amendment
 invocations be otherwise limited. 3


                                                      Respectfully submitted,
                                              By:     s/ Eva W. Cole
                                                      Eva W. Cole
 cc:    All counsel of record (via ECF)




 1
  See, e.g., ECF No. 479-16 (Davidson Tr.) at 107:22-108:9; 115:6-115:11; 145:17-146:14;
 170:15-171:02; 180:12-180:18; 194:15-19:22; 195:05-195:09; 198:03-198:11.
 2
  See, e.g., ECF No. 479-16 (Davidson Tr.) at 117:23-118:3; 124:14-124:20; 128:5-128-9; 135:12-
 135:15; 138:10-138:13; 139:5-139:8; 152:11-152:17.
 3
   This is exactly the type of evidentiary alternative contemplated by the Second Circuit in In re
 650 Fifth Ave, 934 F.3d 147, 172 (2d Cir. 2019) (noting that “substantially less prejudicial and
 redundant alternatives were available, such as . . . a scaled-back showing of the videotapes.”).
